                      Case 2:13-cr-00018-RTB           Document 297     Filed 06/26/14     Page 1 of 1



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                                                  UNITED STATES DISTRICT COURT
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                                                         DISTRICT OF NEVADA
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                                                                    2:13-CR-18 JCM (GWF)
                  8     UNITED STATES OF AMERICA,

                  9                    Plaintiff(s),
                10      v.
                11
                        LEON BENZER, et al.
                12
                                       Defendant(s).
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                14                                               ORDER
                15           Presently before the court is defendant Leon Benzer’s motion for a hearing, (doc. # 235),
                16    regarding his motion for the court to reconsider the decision of Magistrate Judge Foley denying
                17    defendant Benzer’s request for additional counsel. Defendant Benzer has withdrawn his underlying
                18    motion to reconsider, (docs. # 264 & 267), rendering the instant motion moot.
                19           Accordingly,
                20           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant Leon Benzer’s
                21    motion for a hearing, (doc # 235), be, and the same hereby is, DENIED as moot.
                22           DATED June 26, 2014.
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                                                           UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge
